     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 1 of 9 Page ID #:200



1      WORTHE HANSON & WORTHE
2      TODD C. WORTHE – State Bar No. 177452
       MACKENZIE C. FOELLMER – State Bar No. 255721
3
       1851 East First Street, Suite 400
4      Santa Ana, California 82705
       Telephone (714) 285-9600
5
       Facsimile (714) 285-9700
6      TWorthe@Whwlawcorp.com
7
                            UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
9

10     JOHN DOE 1; AN INDIVIDUAL; and               CASE NO. 2:20-cv-05554-
11
       JOHN DOE 2, AN INDIVIDUAL,                   RSWL(AGRx)
                                                    BEFORE THE HONORABLE
12                 Plaintiffs,                      Ronald S.W. Lew
13
                   vs.                              REPLY TO PLAINTIFFS’
14
                                                    OPPOSITION TO MOTION TO
15
       UNITED AIRLINES, INC., AN ILLINOIS           DISMISS PORTIONS OF
       COROPRATION; ROE 1, AN                       PLAINTIFFS’ FIRST AMENDED
16     INDIVIDUAL; ROE 2, AN INDIVIDUAL;            COMPLAINT; MEMORANDUM
17     ROE 3, AN INDIVIDUAL; AND ROES 4             OF POINTS AND AUTHORITIES
       THROUGH 50, INCLUSIVE.
18
                   Defendant                        [Federal Rules of Civil Procedure,
19                                                  Rule 12(b)(6)]
20
                                                    Date: August 4, 2020
21
                                                    Time: 10:00 a.m.
22                                                  Crtrm: TBD
23
                                                    Complaint Filed: May 18, 2020
24

25
             JURISDICTION of this Court is invoked on the basis of diversity of
26
       citizenship and pursuant to 28 U.S.C. 1332, 28 U.S.C. 1441 and 28 U.S.C. 1446.
27

28
                                              1
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 2 of 9 Page ID #:201



1
             COMES NOW Defendant, UNITED AIRLINES, INC. (“United”) and
2
       submits the following memorandum of points and authorities in reply to plaintiff,
3
       JOHN DOE 1 (“Doe 1”) and JOHN DOE 2 (“Doe 2,” collectively, “plaintiffs’ ”)
4
       oppositions to United’s motion to dismiss portions of the first amended complaint.
5
                   MEMORANDUM OF POINTS AND AUTHORITIES
6
       I.    THERE WAS A MEANINGFUL MEET AND CONFER EFFORT BY
7
       THE PARTIES SO THE MOTION SHOULD BE CONSIDERED ON ITS
8

9
       MERITS.

10
             Plaintiffs’ first argument is that the meet and confer by the parties was

11     untimely, so the motion should not be considered and should be denied outright.
12     However, plaintiffs themselves agree that the parties met and conferred and did not
13     reach an agreement regarding this motion to dismiss. (Dkt. 8-1, p. 12-13,
14     Plaintiffs’ Exhibit C.) The only argument plaintiffs make is that the meet and
15     confer was not completed seven days before the motion was filed as required by
16     Local Rule 7-3. United sent its preliminary meet and confer letter on June 24,
17     2020. That letter went unanswered. After Plaintiffs’ counsel failed to respond to
18     the letter, counsel for United was forced to prod them again by sending an email on
19     June 26, 2020 requesting a conference call on June 29, 2020. Counsel for plaintiffs
20     were unavailable, so the call was scheduled for June 30, 2020. (Foellmer Dec. ¶2,
21
       Exhibit “A”) Regardless of the timing, which was driven first by Plaintiffs’
22
       attorneys’ failure to respond and then their schedule, the meet and confer was
23
       completed before the motion was filed.
24
             Plaintiffs rely on CarMax Auto Superstores California LLC v. Hernandez 94
25
       F.Supp. 3d 1078 (C.D. Cal. 2015) for their argument that the court in its discretion
26
       can refuse to consider the motion if a party fails to comply with Local Rule 7-3.
27
       Unlike here, in CarMax there was absolutely no meet and confer effort before the
28
                                                 2
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 3 of 9 Page ID #:202



1
       motion was filed. Here, United sent a substantive meet and confer letter on June
2
       24, 2020, which led to the parties’ conference call on June 30, 2020. Counsel for
3
       plaintiffs sent an email on June 30, 2020 confirming that the parties participated in
4
       a conference call and “were unable to reach a resolution that would have
5
       eliminated the necessity for a motion/hearing.” (Dkt. 8-1, p. 12, Plaintiffs’ Exhibit
6
       C.)
7
             Though a meet and confer occurred here, in CarMax, the Court still
8

9
       considered the motion on its merits despite the fact there was no meet and confer

10
       before the motion to dismiss was filed. “Failure to comply with the Local Rules

11     does not automatically require the denial of a party's motion, however, particularly
12     where the non-moving party has suffered no apparent prejudice as a result of the
13     failure to comply. See ECASH Techs., Inc. v. Guagliardo, 35 Fed.Appx. 498, 500
14     (9th Cir. May 13, 2002) “The Central District of California's local rules do not
15     require dismissal of appellee's motions for failure to satisfy the meet-and-confer
16     requirements” (citations omitted)); Brodie v. Board of Trustees of California State
17     University, 2013 WL 4536242, *1 (C.D.Cal. Aug. 27, 2013).
18           Here, plaintiffs have suffered no prejudice because a meet and confer took
19     place on June 30, 2020. Plaintiffs even concede that the meet and confer took
20     place before the motion to dismiss was filed. Plaintiffs also concede that the
21
       parties were unable to reach an agreement. Since a meaningful meet and confer
22
       conference was completed before the motion was filed, plaintiffs did not suffer any
23
       prejudice and the motion should be considered on its merits.
24
       II.   PLAINTIFFS FAIL TO ALLEGE FACTS TO SUPPORT THE
25
       CLAIM FOR VIOLATION OF THE UNRUH ACT.
26
             In their opposition, plaintiffs argue that they adequately alleged “intent” but
27
       ignore the fundamental element of an Unruh claim. They argue that the allegation
28
                                                 3
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 4 of 9 Page ID #:203



1
       that United “disregarded, ignored, and took for granted the fact that sexual assaults
2
       and harassment can occur to young African American males. (Plaintiffs’
3
       Opposition, p. 7, lines 7 – 9.) Assuming for the moment that “disregarding,”
4
       “ignoring,” and “taking for granted” are words that can properly be construed as
5
       alleging intent, which United does not concede, plaintiffs ignore the more
6
       substantial deficiency in their Unruh allegations. The assertion that United
7
       “disregarded, ignored, and took for granted the fact that sexual assaults and
8

9
       harassment can occur to young African American males” does nothing to advance

10
       plaintiffs’ claim that United’s alleged conduct was racially motivated. There are no

11     facts alleged anywhere in the complaint that would support plaintiffs’ claim that
12     United’s alleged failure to respond to complaints about the female passenger was
13     racially motived. Plaintiffs do not allege any statements made by the flight
14     attendants indicated racial animus nor do they allege any facts to indicate that
15     United intended to ignore the conduct of the female passenger based on plaintiffs’
16     race or status as young African American men. This is the conduct Unruh would
17     address and no evidence suggests such conduct occurred here.
18           The allegation that sexual assaults and harassment can occur to young
19     African American males is indisputably true and at the same time utterly irrelevant
20     to any issue presented in the case. Unfortunately, almost any member of the public
21
       can be a victim of sexual harassment and assaults and there is no basis for
22
       plaintiffs’ implied-but-not-stated argument that young African American males are
23
       more susceptible than any other person. Nowhere in their complaint do plaintiffs
24
       allege United had an obligation to protect young African American men from
25
       sexual harassment that was greater or different than the obligation it owes to any
26
       other member of the flying public. United respectfully suggests plaintiffs’ Unruh
27

28
                                                 4
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 5 of 9 Page ID #:204



1
       cause of action is unsupported by any facts showing intent to discriminate against
2
       plaintiffs by reason of their race or age.
3
              Discussed above, the meet and confer was meaningful and completed before
4
       the motion was filed. Counsel for Plaintiffs arguments that United did not take the
5
       meet and confer seriously and engaged in “gamesmanship” are false. That’s
6
       because during the meet and confer, and despite plaintiffs’ argument that the issue
7
       of intent was not specifically addressed, plaintiffs’ counsel conceded that the
8

9
       parties could not reach an agreement that would alleviate the need for the motion

10
       and hearing. Therefore, Plaintiffs’ repeated argument that United did not satisfy

11     the meet and confer requirements is itself gamesmanship.
12            Finally, the Court’s dismissal of the cause of action for violation of the
13     Unruh Act, affects the claims for treble damages and attorney’s fees, which must
14     also be stricken. There is no dispute regarding this particular issue.
15     III.   THE CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF
16     EMOTIONAL DISTRESS IS NOT PROPERLY PLEAD.
17            Plaintiffs argue that United provides an inaccurate depiction of the events in
18     support of their claim for intentional infliction of emotional distress. From the
19     Complaint, however, plaintiffs allege that they made three complaints of
20     harassment to the United flight attendants before the flight attendants moved the
21
       Assailant to a different seat. Plaintiffs allege that there were instances of
22
       harassment and assault in between the 3 complaints made to the United flight
23
       attendants. Plaintiffs argue that they have sufficiently plead extreme and
24
       outrageous conduct by United because there was reckless disregard of the
25
       probability of causing emotional distress by United. Plaintiffs argue that United
26
       has isolated and misrepresented the context of the allegations that United “ignored
27
       those complaints, sat idly, and allowed Assailant to continue her wrongful
28
                                                    5
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 6 of 9 Page ID #:205



1
       conduct.” (FAC ¶94.) Despite these allegations, plaintiffs fail to allege specific
2
       facts showing United acted intentionally or recklessly.
3
             The alleged outrageous conduct is that United’s flight attendants “ignored”
4
       plaintiffs’ complaints and failed to adequately respond. Yet, the specific facts
5
       plead are that after the second complaint in which Roe 3 witnessed harassment, she
6
       gave a verbal warning. After the third and final alleged complaint, the United
7
       flight attendants moved the Assailant to a different seat so she could not further
8

9
       harass plaintiffs. United respectfully submits that United’s alleged conduct does

10
       not amount to extreme and outrageous conduct.

11           In support of their arguments that United’s conduct was extreme and
12     outrageous, plaintiffs rely on Chaconas v. JP Morgan Chase Bank, 713 F.Supp.2d
13     1180. Chaconas does nothing to further plaintiffs’ argument. Plaintiffs rely on the
14     case for the proposition that conduct may be considered “outrageous” for purpose
15     of meeting the “extreme and outrageous” element of the tort if the alleged
16     tortfeasor “abuses a relation or position which gives him power to damage the
17     plaintiff's interest.” Chaconas v. JP Morgan Chase Bank,713 F.Supp.2d 1180,
18     1187. The pertinent issue in this case is not whether there is a relationship or
19     position of power between the flight attendant and the passenger but whether
20     plaintiffs have alleged any conduct that could be described as “abuse” of such
21
       relationship or position - assuming for the sake of argument only that such
22
       relationship or position existed. Plaintiffs do not allege the flight attendants
23
       sexually assaulted or harassed them or forced them to endure the female
24
       passenger’s alleged conduct. They do not allege that the flight attendants otherwise
25
       rendered them helpless. They allege the flight attendants failed to timely respond to
26
       their complaints. Although United does not concede such an alleged failure
27
       occurred, for the sake of argument if the allegations are true the complaint
28
                                                  6
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 7 of 9 Page ID #:206



1
       describes, at best, a negligent failure to act. It is not the alleged existence of a
2
       relationship or position of power involving the passenger and the flight attendant
3
       that gives rise to “outrageous” conduct. The alleged relationship must be abused.
4
       The term “abuse” connotes an active intent to use the position of power or special
5
       relationship to cause the plaintiff harm. At the motion to dismiss stage where the
6
       allegations are deemed true, plaintiffs’ claims might be sufficient to defeat a
7
       motion to dismiss a negligence claim but there are no allegations in plaintiffs’
8

9
       pleadings of extreme and outrageous conduct that would support a claim of

10
       intentional infliction of emotional distress.

11           Plaintiff cite to FRCP Rule 8(a) for the proposition that they have
12     sufficiently plead facts in support of their cause of action for intentional infliction
13     of emotional distress because plaintiffs have provided a “short and plain statement”
14     of plaintiffs’ emotional distress. Yet, the standard for a complaint to survive a
15     motion to dismiss requires more than a short plain statement. While a complaint
16     attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual
17     allegations, a plaintiff's obligation to provide the ‘grounds’ of his ‘entitlement to
18     relief’ requires more than labels and conclusions, and a formulaic recitation of the
19     elements of a cause of action will not do. Factual allegations must be enough to
20     raise a right to relief above the speculative level, on the assumption that all the
21
       allegations in the complaint are true (even if doubtful in fact).” Bell Atl. Corp. v.
22
       Twombly (2007) 550 U.S. 544, 545, citations omitted, emphasis added.)
23
             Plaintiffs make conclusory allegations that they suffered “great pain of mind
24
       and body, shock, emotional distress, physical manifestations of emotional distress
25
       including depression, anxiety, humiliation, loss of enjoyment of life, and fear of
26
       flying and travel.” (FAC ¶98) Plaintiffs argue that United diminishes the
27
       emotional distress plaintiffs’ suffered. Yet, plaintiffs allege identical claims in a
28
                                                   7
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 8 of 9 Page ID #:207



1
       perfunctory manner and fail to allege or distinguish any symptoms. Since
2
       plaintiffs make conclusory allegations and fail to allege facts showing severe
3
       emotional distress, the cause of action fails.
4
       IV.   PLAINTIFFS DO NOT PLEAD FACTS TO SUPPORT A CLAIM
5
       FOR PUNITIVE DAMAGES AGAINST THE CORPORATION.
6
             In their opposition regarding the claim for punitive damages, plaintiffs argue
7
       that United misapplies the law. Plaintiffs assert that FRCP Rule 9(b) permits
8

9
       plaintiffs to generally aver malice or fraudulent intent. Even if plaintiffs generally

10
       allege malice or fraudulent intent, they are still required to plead the advance

11     knowledge and conscious disregard, authorization, ratification or act of oppression
12     or malice on the part of an officer, director or managing agent of the corporation.
13     (Civil Code §3294(b).) Nowhere in plaintiffs’ opposition do they address the
14     deficiencies of the claim for punitive damages against the corporation, United.
15     Plaintiffs agree that Civil Code §3294 governs the substantive law for punitive
16     damages. So there also can be no dispute that to maintain the claim for punitive
17     damages against United plaintiffs must allege that the employee-agent’s malicious
18     acts were done with knowledge or under the direction of the principal-employer,
19     that is to say, were authorized, or the acts were ratified by the principal with
20     knowledge of the willful and malicious character of such acts. Hartman v. Shell
21
       Oil Co. 68 Cal.App.3d 240 (1977).
22
             Plaintiffs have not alleged any facts to indicate that an officer, director or
23
       managing agent of United had advance knowledge of any unfitness of any of the
24
       employees whose alleged acts are at issue. There are no facts indicating any
25
       officer, director or managing agent of United consciously disregarded, authorized
26
       or ratified any such conduct as expressly required by Civil Code § 3294(b).
27
       Plaintiffs fail to address this argument or show how it might be cured on
28
                                                  8
     Case 2:20-cv-05554-RSWL-AGR Document 9 Filed 07/21/20 Page 9 of 9 Page ID #:208



1
       amendment. Therefore, United respectfully requests the Court to dismiss the
2
       punitive damage claim without leave to amend.
3
       V.    CONCLUSION.
4
             Despite the arguments by plaintiffs throughout their opposition that United
5
       did not sufficiently and timely meet and confer, the Court should hear the motion
6
       on its merits. The parties did engage in a meaningful meet and confer before filing
7
       the motion. Plaintiffs’ counsel agreed that the parties did not reach an agreement
8

9
       that would alleviate the need for the motion. Plaintiffs also conceded in a footnote

10
       that they submit to the arguments regarding the cause of action for negligent

11     infliction of emotional distress and the prayer for declaratory and injunctive relief.
12     Therefore, those claims should be dismissed without leave to amend.
13           For the reasons set forth herein and in the moving papers, United
14     respectfully requests the Court to dismiss the cause of action for violation of the
15     Unruh Act, the cause of action for intentional infliction of emotional distress, the
16     prayer for punitive damages, the prayer for treble damages and prayer for
17     attorneys’ fees without leave to amend.
18

19     DATED: June 30, 2020             WORTHE HANSON & WORTHE
                                        By: /s/ Todd Worthe
20
                                        TODD C. WORTHE
21                                      MACKENZIE C. FOELLMER
22
                                        Attorneys for Defendant, UNITED AIRLINES,
                                        INC.
23

24

25

26

27

28
                                                  9
